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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 11-cr-03259­             2

                       Plaintiff,
                vs.                         JUDGMENT OF DISMISSAL
Siara Banda,

                       Defendant.


         IT APPEARING that the defendant is now entitled to be discharged
 r the reason that:

    an indictment has been fi    in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

        Court has granted the motion of the Government                   di       ssal,
    without prejudice; or

    the Court has granted the motion of              defendant for a judgment of
    acquittal; or

    a jury   s been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its ve           ct, finding         defendant not            lty;

~   of the of     nse(s) as charged in the Indictment:

      21:952 and 960: 18:2 - Importation of Methamphetamine



          IT IS THEREFORE ADJUDGED that             defendant is         reby discharged.


DATED: 10/07/2011
                                                 n A.
                                                ITED STATES DISTRICT JUDGE
